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                            EXHIBIT 12
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PSARA ENERGY, LTD.,                                        §
          Plaintiff,                                       §
v.                                                         §     CIVIL ACTION
                                                           §
SPACE SHIPPING, LTD.; ADVANTAGE                            §     NO. 2:16-CV-04840-WB
A VENUE SHIPPING, LLC; GENEL DENIZCILIK                    §
NAKLIYATI A.S. A/KIA GEDEN LINES;                          §
ADVANTAGE TANKERS, LLC;                                    §
ADVANTAGE HOLDINGS, LLC;                                   §
FORWARD HOLDINGS, LLC; MEHMET                              §
EMIN KARAMEHMENT and GULSUN                                §
NAZLI KARAMEHMET WILLIAMS,                                 §
          Defendants.                                      §
                                                                           LUCYV.C'~::~. !,-· ... :; G!ark
                                                                           By                 0-::p. Clerk

                                           ORDER
       Considering the foregoing Joint Motion to Disburse Funds Held in the Registry of Court,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Motion be and is

hereby GRANTED.

       IT IS FURTHER ORDERED that the Clerk of this Court is hereby authorized and

directed to draw a check in the full amount on deposit, made payable to "PALMER BIEZUP &

HENDERSON LLP," and mailed or delivered to Mr. Frank P. DeGiulio, 190 N. Independence Mall

West, Suite 401, Philadelphia, PA 19106;

       Signed at Philadelphia, Pennsylvania on this




                                                      UNITED STATES DISTRICT JUDGE
    Case
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PSARA ENERGY, LTD.,                                           §
          Plaintiff,                                          §
~                                                             §       CIVIL ACTION
                                                              §
SPACE SHIPPING, LTD.; ADVANTAGE                               §       NO. 2:16-CV-04840-WB
AVENUE SHIPPING, LLC; GENEL DENIZCILIK                        §
NAKLIYATI A.S. A/K/A GEDEN LINES;                             §
ADVANTAGE TANKERS, LLC;                                       §
ADVANTAGE HOLDINGS, LLC;                                      §
FORWARD HOLDINGS, LLC; MEHMET                                 §
EMIN KARAMEHMENT and GULSUN                                   §
NAZLI KARAMEHMET WILLIAMS,                                    §
          Defendants.                                         §



            STIPULATION OF DISMISSAL WITHOUT PRE.JUDICE AND
    .JOINT MOTION TO DISBURSE FUNDS HELD IN THE REGISTRY OF COURT

       COMES NOW Plaintiff PSARA ENERGY, LTD., pursuant to Federal Rule of Civil

Procedure 41(a)(l)(A)(ii), and files this stipulation of voluntary dismissal without prejudice in the

above styled and captioned civil action No. 16-cv-04840-WB, and respectfully moves for an order

instructing the Clerk to disburse the funds held in the Court's registry in the manner detailed in the

attached Order, agreed to by the parties in accordance with the following:

       IT IS HEREBY STIPULATED AND AGREED, by and between the parties, through their

undersigned counsel, that:

       1.      The Plaintiff herein, PSARA ENERGY, LTD., filed in this Court its Verified

Original Complaint on or about September 9, 2016 against the above-captioned defendants.

       2.      Defendants Advantage Avenue Shipping LLC, Advantage Tankers LLC,

Advantage Holdings LLC, Forward Holdings LLC and Gulsun Nazli Karamehmet Williams
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(hereinafter collectively referred to as the "Advantage Defendants") have appeared in this matter

before the Court and join in this stipulated dismissal pursuant to Federal Rule of Civil Procedure

41(a)(l)(A)(ii).

       3.        This case is not a class action under Federal Rule of Civil 23, a derivative action

under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

       4.        A receiver has not been appointed in this case.

       5.        This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       6.        Plaintiff Psara Energy, Ltd. has not previously dismissed any federal- or state-court

suit based on or including the same claims as those presented in this case.

       7.        The above-captioned matter is hereby voluntarily dismissed without prejudice

pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules pf Civil Procedure, with each party to bear

its own costs.

       8.        The funds currently held on deposit in the registry of the Court posted by the

Advantage Defendants should be released to local counsel for the Advantage Defendants:

       Mr. Frank P. De Giulio
       PALMER BIEZUP & HENDERSON LLP
       190 N. Independence Mall West
       Suite 401
       Philadelphia, PA 19106

       WHEREFORE, Plaintiff, Psara Energy, Ltd., respectfully submits this Stipulation of

Dismissal Without Prejudice and requests that the Court grant this Joint Motion to Disburse Funds

Held in the Registry of the Court.

Dated: December 23, 2016                                       Respectfully submitted:

                                                       By:     Isl Mary E. Reeves
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                                                    Attorneys for Plaintiff

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E-mail: georgegaitas@chaloslaw.com

                                          - and -

/s/ Richard 0. Whelan (with permission)
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